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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                              CASE No. 1:19-CR-117
v.
                                                              HON. ROBERT J. JONKER
LARRY CHARLES INMAN,

               Defendant.

_______________________________/

                                             ORDER

       On May 14, 2019 a grand jury charged Defendant Inman with Attempted Extortion under

Color of Official Right (Count 1); Solicitation of a Bribe (Count 2); and False Statement to the

FBI (Count 3). (ECF No. 1). A jury trial is currently scheduled for August 6, 2019.

       In advance of the upcoming final pretrial conference, Defendant Inman has moved to

dismiss the Indictment against him, as well as for the production of a Bill of Particulars and a

transcript of grand jury proceedings. (ECF No. 13). Separately, Defendant Inman has filed a

“Notice of Intent to Present Evidence of Defendant’s Diminished Cognitive Ability as a Result of

the Use of Prescription Pain Medication,” docketed as a “Notice re: Diminished Capacity

Defense.” (ECF No. 16). The Court will consider the motion to dismiss, and make a determination

regarding whether to schedule any hearing on the matter, after receiving the government’s

response. In addition, the Court is ordering the parties to submit supplemental briefs on the matters

described below.
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       1. Diminished Capacity

       The defense does not indicate which rule of criminal procedure it is relying on in its Notice

of Diminished Capacity; however the Court anticipates the defense is most likely not making an

insanity defense under Rule 12.2(a) and instead intends to proceed under Rule 12.2(b). This

“diminished capacity” defense, applies “where the defendant claims only that his mental condition

is such that he or she cannot attain the culpable state of mind required by the definition of the

crime.” United States v. Kimes, 246 F.3d 800, 806 (6th Cir. 2001) (internal citation and quotation

marks omitted). While courts “permit the introduction of evidence of diminished capacity for the

purpose of negating the mens rea element of certain crimes . . . [the Sixth Circuit has] adhered to

the view that ‘diminished capacity may be used only to negate the mens rea of a specific intent

crime.’” Id. (quoting United States v. Gonyea, 140 F.3d 649, 650 (6th Cir. 1998)) (emphasis in

original). Accordingly, for any general intent crimes, Defendant’s mental state is only relevant if

the Defendant proposes an insanity defense. And under Rule 12.2(a), upon notice of such an

offense, the Court must order an examination under 18 U.S.C. § 4242. See FED. R. CRIM. P.

12.2(c)(1)(B).

       The Court directs the parties to brief whether the three charges in the indictment each

constitute specific intent or general intent crimes. The defense should also indicate in its brief

whether its notice is brought under FED. R. CRIM. P. 12.2(a) or (b), or some other rule. In addition

to any other matters on this topic the parties may wish to discuss, the Court also directs the parties

to indicate whether the Court should order a competency examination as well as to provide an

overview of the anticipated proofs or objections on the defense, and to explain how they presently

view the defense fitting into any trial, including the burden of proof required and the legal

standards for admitting any expert testimony.



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       2. Federalism Issues

       The United States Constitution establishes a system of dual sovereignty under which we

all live. It is fundamental civics that the federal government is given limited powers by the states,

with all other powers resting in the hands of the states. This case, one in which a federal court is

called upon to examine the actions of an elected state representative, raises at least some questions

about federalism and separations of powers. To be sure, in the context of campaign contributions,

the Supreme Court has held that “the receipt of political contributions violates the Hobbs Act ‘only

if the payments are made in return for an explicit promise or undertaking by the official to perform

or not to perform an official act.’” United States v. Abbey, 560 F.3d 513, 516 (6th Cir. 2009)

(quoting McCormick v. United States, 500 U.S. 257, 273 (1991)). But courts must be careful in

how they construe the statute so as to avoid concerns about federalism. See McDonnell v. United

States, 136 S. Ct. 2355, 2373 (2016) (noting that a broad view of “official act” would raise

“significant federalism concerns,” and declining to “‘construe the statute in a manner that leaves

its outer boundaries ambiguous and involves the Federal Government in setting standards’” of

“‘good government for local and state officials’”) (quoting McNally v. United States, 483 U.S.

350, 360 (1987)).

       The Court asks the parties to detail how their respective theories of the case touch on the

above issues relating to separation of powers and federalism.




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                                        CONCLUSION

         ACCORDINGLY, IT IS ORDERED that in addition to any further briefs (as permitted

by rule) on the pending motion to dismiss, the parties shall each submit supplemental briefs on the

questions the Court has described above. Briefs are due no later than fourteen (14) days from the

date of this Order.



Dated:      June 24, 2019                    /s/ Robert J. Jonker
                                             ROBERT J. JONKER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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